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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


SECURITIES AND EXCHANGE
COMMISSION,

                     Plaintiff,

       v.                                           No. 1-23-cv-01599-ABJ

BINANCE HOLDINGS LIMITED,
BAM TRADING SERVICES INC.,
BAM MANAGEMENT US HOLDINGS
INC., AND CHANGPENG ZHAO,

                    Defendants.



                                  JOINT STATUS REPORT

       Pursuant to the Court’s June 13, 2023 Order, the parties have been diligently working

towards an agreement relating to a proposed Consent Order, including many hours spent with

Magistrate Judge Faruqui, yesterday and today. Progress has been made, and the parties are

continuing to negotiate a proposed Consent Order.

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Dated: June 15, 2023                  Respectfully submitted,




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